 

, Case 7:18¢mj¢02330 Document l 71~Fi|'e7d7jn TX_SD'onll/_OQ/l_'$ 1 Page` 1'_012 __ ;

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.|:_ fy

AO 91 (Rev. ll_/.ll)- Criminal Complaint .

UN1TED STATES DISIRICT COURT .

` forthe f

Southern District of Texas 4 » ll

 

 

 

v United States of America l _ ) 7 1 7 ~ ';
Brian' Edward cHAMPlo_N ` ' ) _ .' 'Case N_°' .-71' \?V“J' 2550'
DoB; 1977, eitizenship: usA _ § _ »
\.' . _ 7 . , _ ) 7 7
' Dq_fenda_nt(s)_ ' '
CRIMINAL COMPLAINT
I, the complainant 111 this case, state that the following ls_ tr11e to the best of my knowledge ahd belief. ' 7 , 7 _
011 071 about the date(s) of 7 ' ' November 8, 2018 ' in the county Of 7 ` ~ l Hidalgov . 7- i - . in the 77 ~
Southern 7 Dis_trict of Texas - 1 ~ 7 ,-the defendaht(s) violated: ' n
' `Coa'e Section U]Yense Description

. -21_USC § 952 lllegal |mportation of a Contr_o|led Substance /Approximately 60 _Grams of
-. . ' 7 : , Fent_any| a` Schedu|e ll Co'ntrolled Substahce

_ This crirhinal complaint is based on these facts:

Se`e Att`aehmént "A"

d Continued on the attached sheet.

' AW'MD? 51 - WOUQU\MUXW`

Complainant’ ssign_az‘ure 1 '

   

 

l l v g '  ` Lor1 L. Pendergrass,.HSl SA

~ 1 ~Printed name and tit_le -

 

77 . 'Dat¢;` '1 _1_1/09/208 -}.',,'25`;,§_,¢_1__ '

 

7 v y Judge’ssignature 7 7
' Ci‘tygnd:§'tate; ’ 3 'McAuen,-Texas- " ` u.S.Magistrate Judge JuanF.A\ahi_s -

 

`7 Piinted name and title '

 

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,~:W:>,_;§_ _ » - _ ‘ ' Attachmen_t“A”_

_.On_November 8, 2018,_Cu_stoms and Border Protection- (CBP), were conducting operations at _ _
' , the Progreso Por__t of Ent_ry (P-OE) when they encountered Brian J ames CHAl\/IPION (I_)OB .*`0_8:~ _-'
1 _2'7- 1977) attempting to enter the United S`-ta`tes via the pedestrian lanes During` the 1nspect10n `
v '.CBP Officers received a declaration from CHAMPION claiming two bottles of prescription :. v
, Xanax medication as well as one box of Sildenafil, commonly known as Viagra. CHAMPION
j was referred to secondary for an intensive examination During the secondary inspecticn, CBP

Ofticers discovered six glass vials labeled as Fentanilo (Fentanyl _a S_che_dule II controlled `

‘ substance_) inside the Si1denafi1b0x.

»'H`o_rneland Security Investigations (HSI) Specia_l Agent_s (SA) responded to the Progreso, POE
' to interview CHAMPION. CHAMPION Was read his Mira'nda Rights in Englis'h and b , '

snbsequently waived his rights, both orally and` 111 writing.

_CI~lAl\/,[PION freely stated that the purpose of his trip to Mexico Was to pick up Fentanyl from a

pharmacy located 1n lProgreso. CHAl\_/IPION stated post Miranda that he knew the Fent_any-l was 1

concealed inside the Sildenaiil box to prevent detection by CBP ()`fflcers. CHAMPI_ON farther .
stated that he knew that it was illegal to bring the Fentanyl into the United States

 

